   Case: 2:18-cr-00075-ALM Doc #: 64 Filed: 05/29/18 Page: 1 of 1 PAGEID #: 384



                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                            EASTERN DIVISION AT COLUMBUS

United States of America

-vs-                                                   Case No. 2-18-cr-75

Jason J. Delcol



                               COURTROOM MINUTES
                            ARRAIGNMENT ON INFORMATION

 JUDGE:           Norah McCann King           DATE AND TIME:         5/29/18 at 12:00 PM
 DEPUTY CLERK:    Spencer D. Harris           COUNSEL FOR GOVT:      P Glenn-Applegate
 COURT SMART      S Evans                     COUNSEL FOR DEFT(S).   T Long
 INTERPRETER:     N/A                         PRETRIAL/PROBATION:




Dft appeared with counsel and consents
to plead before a US Magistrate Judge;
Dft waives Indictment; Dft pleads GUILTY
to the pending charges; RR to be issued
PSI to be ordered; Dft to remain in custody
pending sentencing.

Court adjourn.
